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                              IN UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:14-cv-03116-WYD-CBS

  Larry Braden,

          Plaintiff/Movant,

  Medicredit, Inc.,

          Defendant.


                                   NOTICE OF SETTLEMENT


         NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

  a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

  dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


  Dated: May 19, 2015

                                               Respectfully submitted,

                                                By: __/s/ Jenny DeFrancisco_________

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 19, 2015, a true and correct copy of the foregoing Notice of
  Settlement was served electronically by the U.S. District Court for the District of Colorado
  Electronic Document Filing System (ECF), which sent notice of such filing to the following:

  Scott J. Dickenson
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  Suite 500
  St. Louis, MO 63105
                                               By /s/ Jenny DeFrancisco
                                                      Jenny DeFrancisco, Esq.
